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       VIAECF                                                                                 April 17,2018

      Hon. Paul A. Engelmayer, U.S.D.J.
      United States District Court for the Southern District of NY
      Thurgood Marshall United States Court
      40 Foley Square- Court Room 1305
      New York, NY 10007

                        Re:   COR Clearing, LLC v. First Standard Financial Co., LLC
                              Case No.: 17 CIV. 02190 (PAE)

      Dear Judge Engelmayer:

               We are counsel for Plaintiff COR Clearing Corporation ("COR") and we write jointly
       with counsel for Defendant First Standard Financial Co., LLC ("First Standard") pursuant to the
       Court's April 12, 2018 Order (Dkt. #34) to confirm that we have collectively scheduled
       depositions in this matter. We also write to request that the Court grant a further small extension
       ofthe fact witness deposition deadline from May 14, 2018 to May 23, 2018. The parties request
       this brief extension due to conflicts with the trial schedule of counsel for First Standard, as well
       as other scheduling conflicts involving the Plaintiffs witnesses, which prevent the completion of
       fact witness depositions by May 14, 2018.

              Counsel for the parties have agreed to the following deposition schedule in order to meet
       the proposed deadline:

        Deponents                Dates                      ~ation
        Carmine Berardi          Apri123, 2018                  erson Kill's New York office
        Jonathan McCormack       April24, 2018               Anderson Kill's New York office
                                 April 25 and April 26,      Anderson Kill's New York office
        Andrew B. Dorman         2018 (if necessary)
                                 April 25 and April 26,       Anderson Kill's New York office
        Timothy Feil             2018 (ifnecessary)
        Scott Martinson          April 26, 2018               Anderson Kill's New York office
                                                              COR's Omaha, Nebraska office and
                                                              Scarinci & Hollenbeck's New York office
                                 May 1 and May 2, 2018        (stipulated to take deposition by remote
        Todd Hatton              (if necessary)               means)



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  Deponents               Dates                       Location
                                                      COR's Omaha, Nebraska office and
                                                      Scarinci & Hollenbeck's New York office
                          May 1 and May 2, 2018       (stipulated to take deposition by remote
  Amy Ausdemore           (if necessary)              means)
  Roy DiMaria             May 3, 2018                 Scarinci & Hollenbeck's New York office
  Carlos Salas            May 22,2018                 Scarinci & Hollenbeck's New York office
  Michael Scaplen         May 23,2018                 Scarinci & Hollenbeck's New York office

        We are available if the Court has any questions regarding this matter or would like to
 speak with the parties.

                                                     Respectfully submitted,


      SCARINCI & HOLLENBECK, LLC                     ANDERSON KILL P.C.




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      Company, LLC




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